                     IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                              WESTERN DIVISION
                               No. 5:20-CV-00349-D

 GOLDEN CORRAL CORP. and                      )
 GOLDEN CORRAL FRANCHISING                    )
 SYSTEMS, INC.,                               )
                                              )
                       Plaintiffs,            )         AMENDED COMPLAINT
                                              )
            v.                                )
                                              )
 ILLINOIS UNION INSURANCE                     )
 COMPANY,                                     )
                                              )
                       Defendant.             )

       NOW COMES Plaintiff Golden Corral Corporation and Plaintiff Golden Corral

Franchising Systems, Inc. (collectively “Plaintiffs”), and complaining of Defendant Illinois

Union Insurance Company (“Defendant”), alleges and says as follows:

                                     INTRODUCTION

       1.        This is a civil action by Plaintiffs seeking coverage under their business

interruption insurance policy and related damages arising from the recent COVID-19

outbreak and its detrimental effects on Plaintiffs’ business. Plaintiffs timely submitted

claims for business interruption related to COVID-19 and seeking to recover damages

under their insurance policy issued by Defendant. Though the insurance policy provides

coverage for Plaintiffs’ claims, Defendant has wrongfully denied coverage, violating its

policy obligations, legal duties, and applicable law.




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                                          PARTIES

         2.      Plaintiff Golden Corral Corporation (“Golden Corral”) is a North Carolina

corporation with its principal office located in Raleigh, Wake County, North Carolina.

         3.      Plaintiff Golden Corral Franchising Systems, Inc. (“GCFS”) is a Delaware

corporation doing business in North Carolina as Golden Corral Franchising Systems, Inc.,

with its principal office located in Raleigh, Wake County, North Carolina.

         4.      Defendant Illinois Union Insurance Company (“Illinois Union” or

“Defendant”) is an Illinois corporation with its principal office located in Philadelphia,

Pennsylvania, upon information and belief. Defendant markets itself under the “CHUBB

Group of Insurance Companies.”

         5.      Upon information and belief, throughout the period relevant to this action,

Illinois Union is or has been licensed under Chapter 58 of the North Carolina General

Statutes and is authorized to conduct business in North Carolina; is or has been engaged in

the business of insuring risks located in North Carolina, pursuant to N.C. Gen. Stat. § 58-

21-1 et seq.; and is or has been transacting such business on a surplus lines or non-admitted

basis.

         6.      Defendant Illinois Union has been served with legal process by service upon

its registered agent in North Carolina, upon its agent expressly designated in the insurance

policy, and/or upon the North Carolina Insurance Commissioner pursuant to N.C. Gen.

Stat. §§ 58-16-30 & 58-21-100.




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                               JURISDICTION AND VENUE

       7.       This Court has jurisdiction over the subject matter of this action pursuant to,

inter alia, N.C. Gen. Stat. § 1-253.

       8.       This Court has personal jurisdiction over Defendant because, within the time

period relevant herein, Defendant has been licensed to transact insurance business in North

Carolina, has in fact transacted business in North Carolina, or has maintained a substantial

presence in North Carolina, upon information and belief.

       9.       Venue in this Court is proper pursuant to 28 U.S.C. § 1391 because a

substantial part of the events or omissions giving rise to the claims occurred and/or a

substantial part of property that is the subject of the action is situated in this judicial district

as set forth herein, and Plaintiffs’ principal places of business are located in Raleigh, Wake

County, North Carolina.

       10.      All conditions precedent as to Plaintiffs set forth in the applicable insurance

contract have been performed.

                                FACTUAL BACKGROUND

       11.      Founded in 1973 and based in Raleigh, North Carolina, Golden Corral is the

nation’s largest grill-buffet restaurant chain with restaurants operating in forty states.

Golden Corral strives to make pleasurable dining affordable for families across America.

Some of the restaurants are corporate-owned by Golden Corral, and others are franchise

locations.

       12.      Golden Corral has granted GCFS the non-exclusive right to franchise others

to operate restaurants using systems developed and owned by Golden Corral.                     The

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franchisees pay certain royalties based on a percentage of their gross revenues to GCFS,

which are in turn paid to Golden Corral.

       13.      There are approximately four hundred and eighty three (483) Golden Corral

restaurant locations throughout the United States; thirty five (35) of the locations are

corporate-owned by Golden Corral and four hundred and forty eight (448) are franchise

locations.

       14.      Approximately sixty one (61) of the franchise restaurant locations are

structured under leases with Golden Corral.

       15.      Approximately fifteen (15) of the franchisees also financed the purchase of

certain equipment from Golden Corral.

                                         The Policy

       16.      On or about March 31, 2019, Defendant issued Golden Corral a commercial

insurance policy, number D4226555A 001 (the “Policy”), for the period of March 31, 2019

to March 31, 2020, which was applied for, signed, and delivered in North Carolina. The

Policy is marketed under “Westchester,” “A Chubb Company.”

       17.      The Policy insures “all real and personal property of every kind and

description” at an insured location or within 1000 feet thereof, and the Policy provides

coverage for business interruption and for the losses to gross revenues, royalties, rental

income, and extra expenses related thereto.

       18.      The Policy provides a maximum Limit of Liability of Fifty Million Dollars

and 00/100 ($50,000,000.00), and states that, should an occurrence commence prior to the

expiration of the Policy and extend beyond the expiration date of the Policy, the Policy will

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pay for the losses occurring during such period as if they fell entirely within the term of

the Policy.

       19.    The Policy is an “all-risks” policy, insofar as it provides that a peril insured

under the Policy means loss or damage not otherwise excluded.

       20.    The Policy includes an Endorsement for “Interruption by Civil or Military

Authority,” which covers the actual loss of business income sustained when, as a result of

“direct physical loss, damage or destruction or imminent loss” (emphasis added) within

five miles of an insured location, the insured’s business operations are “interrupted or

reduced” because “access” is “impaired by order of civil or military authority.”

       21.    The Endorsement also includes “Loss of Ingress or Egress,” which covers

the actual loss of business income sustained when, as a result of “direct physical loss,

damage, or destruction by a peril insured” within five miles of an insured location, business

operations are “interrupted or reduced” because “ingress to or egress from” that location is

“impaired.”

       22.    The Policy also includes a section for “Business Interruption,” which covers

the actual loss of business income resulting from the reduction of business operations

caused by physical loss, damage, or destruction by a peril insured by the Policy of property

insured.

       23.    The Policy defines the actual loss sustained by the insured as the reduction

in gross earnings less charges and expenses that do not necessarily continue during the

interruption or reduction of the business operations.



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       24.    “Royalties” are included for business interruption and described in part as

“revenue under royalty, licensing fees or commission agreements between the Insured and

another party.”

       25.    Lost rent is included for business interruption and is described in part under

“Rental Value,” which covers the loss sustained by the insured resulting from

untenantability caused by physical loss, damage, or destruction of property insured.

       26.    “Extra Expense” is also included for business interruption, which includes

costs to “continue as nearly normal as practicable the conduct of the Insured’s business”

during the interruption.

       27.    “Claims Preparation Expenses” are also included for business interruption,

which includes the “[e]xpenses incurred by the Insured or by the Insured’s representatives

including Accountants, Appraisers, Auditors, Consultants, Engineers, or other such

professionals in order to arrive at the loss payable under this Policy in the event of a claim.”

                                   COVID-19 Outbreak

       28.    On or about January 21, 2020, the United States experienced its first reported

case of the virus COVID-19, upon information and belief. Since then the virus has now

reached the level of a global pandemic.

       29.    The Centers for Disease Control and Prevention (“CDC”) and studies have

concluded that COVID-19 survives and remains infectious on surfaces and objects for

days. Thus a person can get COVID-19 by touching a surface or object that has the virus

on it and, as such, COVID-19 physically affects and damages all with which it comes in

contact.

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       30.    COVID-19 has quickly spread around the country, including areas located

within five miles of Golden Corral’s corporate and franchise locations.

       31.    The CDC tracks and provides data on the progression and instances of

COVID-19 across the country, including the counties in North Carolina, which is compiled

on its website database as “Coronavirus Disease 2019 (COVID-19),” “Cases and Deaths

by County.”

       32.    Various civil authorities have recognized the presence and loss or damage to

property and people by COVID-19 and the life-threatening dangers its has caused and have

issued orders impairing (and even eliminating) access to restaurants, including Golden

Corral corporate-owned and franchise locations.

       33.    For example, in North Carolina, the Governor issued an executive order

declaring that COVID-19 had caused a “State of Emergency,” which is defined as “an

occurrence or immediate threat of severe damage, injury, or loss of life or property” See

N.C. Exec. Order No. 116 (Mar. 10, 2020) (emphasis added) (citing N.C. Gen. Stat.

§ 166A-19.3(6) (2019)). The Order defined the “emergency area” as the entire State of

North Carolina. Id.

       34.    Governor Cooper issued an executive order regarding COVID-19 to, inter

alia, “limit access to facilities that sell food and beverage,” N.C. Exec. Order No. 118

(Mar. 17, 2020), and that closed in-dining restaurants.

       35.    Executive Order No. 118 states that it was issued in part due to “an immediate

threat of serious physical injury” due to COVID-19, and that, if an “imminent hazard”

exists, the Secretary for the North Carolina Department of Health and Human Services

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(“NCDHHS”) may “order the owner, lessee, operator, or other person in control of property

abate the imminent hazard.”

       36.     The NCDHHS issued an “Order of Abatement of Imminent Hazard” that

classified the COVID-19 outbreak and its effects on restaurants as an “imminent hazard,”

and directed that “[a]ll owners, lessees, operators, or other persons in control of a restaurant

shall close all restaurant seating areas immediately,” which included “cafeterias” and “food

halls”. Order, NCDHHS (Mar. 17, 2020).

       37.     For another example, on March 27, 2020, North Carolina Governor Cooper

issued Executive Order No. 121 requiring individuals to stay at home and prohibiting non-

essential travel.

       38.     Executive Order No. 121 states that, in response to “documented 763 cases

of COVID-19 across 60 counties,” it was issued “to assure adequate protection of lives and

property of North Carolinians.” (Emphasis added.)

       39.     As another example, Mecklenburg County, North Carolina issued a “Joint

Order and Declaration,” effective on March 26, 2020, that “restricted access and travel

upon public streets, alley, roadway or upon any other public property” in order to “protect”

“property.”

       40.     As another example, in Pennsylvania, the Governor issued an executive order

“to control ingress and egress” throughout the state, declaring that COVID-19 had caused

a “disaster emergency.” See Pa. Exec. Order (Mar. 19, 2020). The “disaster emergency”

is a “natural disaster,” defined as a catastrophe which resulted in, inter alia, “substantial

damage to property.” 35 Pa. C.S. § 7102 (2019) (emphasis added).

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       41.    Given the presence of COVID-19, ingress to and egress from Golden

Corral’s corporate-owned and franchise locations has also been impaired, as set forth in

the Policy.

       42.    As a result, on or about March 20, 2020, Golden Corral was forced to suspend

operations for all of its corporate-owned locations, which has resulted in substantial losses

of Golden Corral’s business income.

       43.    Golden Corral franchisees have followed suit, which has significantly

reduced or eliminated the royalties paid to Golden Corral. Certain franchise locations have

also had to suspend payments on their leases to Golden Corral, as well as their payments

on their equipment financing to Golden Corral.

       44.    As a result of the above, Golden Corral’s normal business operations have

been interrupted, and Golden Corral has experienced and is experiencing substantial losses

to revenues from its corporate-owned locations, losses of royalties from its franchise

locations, and losses of rental income from leases and losses of payments from equipment

financing from certain of its franchise locations, all of which are insured and covered under

the Policy.

                         Plaintiffs’ Insurance Claims to Defendant

       45.    In accordance with the terms of the Policy, on or about May 12, 2020,

Plaintiffs timely notified Defendant in writing of their business interruption and insurance

claims (the “Claims”).

       46.    On or about May 13, 2020, Defendant acknowledged receipt of the notice

and assigned their “Catastrophic Claim Specialist for the Pacific Region,” Ms. Lisa Jones,

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to handle Plaintiffs’ Claims. Ms. Jones emailed Plaintiffs the next day requesting a time

to discuss their claims.

       47.    Since then, Plaintiffs repeatedly reached out Defendant’s Claim Specialist

Ms. Jones, who failed to return phone calls and emails, or provide any response.

       48.    Thus, Defendant has failed to acknowledge and act reasonably promptly

upon communications with respect to claims arising under the insurance policy, as set forth

more fully below, in violation of Defendant’s legal duties.

       49.    Furthermore, Plaintiffs have not received any investigatory requests from

Defendant, and thus Defendant has failed to conduct any investigation of Plaintiffs’ Claims

(much less conduct a “reasonable investigation” of Plaintiffs’ Claims) in violation of

Defendant’s legal duties.

       50.    In particular, on or about May 18, 2020, Plaintiffs emailed Ms. Jones with a

time to speak, and on or about May 19, 2020, Plaintiffs attempted again to contact Ms.

Jones by telephone and left Ms. Jones a message to return the call.

       51.    Ms. Jones did not respond to Plaintiffs.

       52.    On or about May 27, 2020, Plaintiffs followed up and emailed Ms. Jones

again, requesting whether Ms. Jones needed to speak with Plaintiffs regarding their Claims.

       53.    Ms. Jones did not respond to Plaintiffs.

       54.    On or about June 3, 2020, Plaintiffs followed up and called Ms. Jones again,

leaving her a message.

       55.    Ms. Jones did not respond to Plaintiffs.



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       56.     Indeed, since the time of Plaintiffs’ notice to Defendant regarding their

Claims, Plaintiffs have not received any investigatory requests from Defendant regarding

their Claims, nor have Plaintiffs received any explanation of the basis in the insurance

policy in relation to the facts or applicable law for denial of their Claims.

       57.     Though the Policy provides coverage for Plaintiffs’ Claims, on or about

August 10, 2020, Defendant denied coverage for Plaintiffs’ Claims.

             FIRST CLAIM FOR RELIEF -- DECLARATORY JUDGMENT

       58.     Plaintiffs re-allege and incorporate all paragraphs herein by reference.

       59.     Under N.C. Gen. Stat. § 1-253 et seq., the Court may declare rights, status,

and other legal relations in order to settle and to afford relief from uncertainty and

insecurity with respect thereto, whether or not further relief is or could be claimed.

       60.     An actual controversy exists between Plaintiffs and Defendant regarding the

parties’ respective rights, duties, and obligations concerning the Policy.

       61.     Plaintiffs contend, inter alia, that the Policy provides insurance coverage for

Plaintiffs’ insurance Claims, and that Illinois Union is required to cover the Claims.

       62.     In particular, Plaintiffs contend that the Policy provides business interruption

coverage here under the Endorsement for “Interruption by Civil or Military Authority”

during the period that civil authority orders have impaired access to their corporate-owned

and franchise locations as a result of “imminent loss” due to COVID-19.

       63.     Plaintiffs contend that the Policy also provides business interruption

coverage here under the Endorsement for “Loss of Ingress or Egress” during the period



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that ingress to and egress from Golden Corral’s corporate-owned and franchise locations

have been impaired as a result of damage due to COVID-19.

         64.   Plaintiffs contend that the Policy also provides business interruption

coverage here under the “Business Interruption” section for loss caused by physical loss,

damage, or destruction of insured property due to COVID-19.

         65.   As a result of the above, Golden Corral has experienced substantial losses to

revenues from its corporate-owned locations, losses of royalties from its franchise

locations, and losses of rental income from leases and losses of payments from equipment

financing from certain of its franchise locations, all of which Plaintiffs contend are insured

and covered under the Policy.

         66.   Though Plaintiffs have complied with conditions precedent in the Policy and

have submitted notice of their Claims, Illinois Union has denied coverage for Plaintiffs’

Claims.

         67.   Defendant disputes that coverage is afforded under the Policy, as set forth

above.

         68.   A declaratory judgment will resolve the above disputes and will determine

the parties’ respective rights, duties, and obligations in this matter, and will alleviate the

parties’ uncertainty regarding Defendant’s liability and Plaintiffs’ rights under the Policy.

         69.   Resolution of the duties, responsibilities, and obligations of the parties is

necessary as no adequate remedy at law exists and a declaration of the Court is needed to

resolve the dispute and controversy.



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       70.    Therefore, pursuant to N.C. Gen. Stat. § 1-253 et seq., Plaintiffs are entitled

to a declaration that the Policy provides coverage for Plaintiffs’ Claims.

             SECOND CLAIM FOR RELIEF – BREACH OF CONTRACT

       71.    Plaintiffs incorporate all paragraphs herein by reference.

       72.    Plaintiffs and Defendant are parties to the Policy described above.

       73.    Plaintiffs have complied with all conditions and obligations under the Policy

regarding their right to coverage by Defendant for their Claims.

       74.    Defendant denies that it has an obligation to cover Plaintiffs’ Claims, thereby

breaching its obligations under the Policy and under North Carolina law.

       75.    Because Defendant has not provided coverage according to the Policy’s

terms, Plaintiffs have been forced to bear the costs of loss including, but not limited to, loss

of business income and extra expense, not normally incurred with respect to their business.

       76.    In particular, Defendant has denied coverage for “Interruption by Civil or

Military Authority” for loss of business income sustained by Plaintiffs when, as a result of

“imminent loss” within five miles of an insured location, Plaintiffs’ business operations

were interrupted or reduced because access to Plaintiffs’ business locations was impaired

by order of civil authority.

       77.    Also, Defendant has denied coverage for “Loss of Ingress or Egress” for loss

of business income sustained by Plaintiffs when, as a result of direct physical loss, damage

or destruction within five miles of an insured location, Plaintiffs’ business operations were

interrupted or reduced because ingress or egress from Plaintiffs’ business locations was

impaired.

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       78.    Furthermore, Defendant has denied coverage for “Business Interruption” for

loss of business income resulting from the reduction of business operations caused by

physical loss, damage, or destruction of property insured.

       79.    As a direct result of Defendant’s breach of contract, Plaintiffs have been

damaged in an amount greater than Seventy-Five Thousand Dollars and 00/100

($75,000.00), to be determined at trial.

 THIRD CLAIM FOR RELIEF – BREACH OF THE IMPLIED COVENANT OF
                GOOD FAITH AND FAIR DEALING

       80.    Plaintiffs incorporate all paragraphs herein by reference.

       81.    As set forth herein, Defendant is obligated to provide coverage for Plaintiffs’

Claims under the terms of the Policy.

       82.    Defendant’s obligations are not discretionary.

       83.    To the extent that Defendant argues or contends that it could exercise

discretion in regard to its obligations, however, it has a duty of good faith and fair dealing

not to take actions that deny Plaintiffs the ability to receive the benefits to which they are

entitled under the Policy.

       84.    Defendant has a duty to perform its obligations under the Policy that

according to reason and justice it should do in order to carry out the purpose for which the

Policy was entered into.

       85.    Defendant has not acted reasonably, in good faith, or in a manner consistent

with fair play.

       86.    In particular, Defendant has failed to acknowledge and act reasonably


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promptly upon communications with respect to claims arising under the insurance policy.

       87.    Plaintiffs contacted Defendant’s Claims Specialist numerous times, via

telephone and email, and Defendant failed to respond.

       88.    Defendant did not even request or seek any investigatory information in order

to investigate Plaintiffs’ Claims, which insurance carriers are required to do by law.

       89.    Instead, without having conducted the requisite investigation, Defendant

denied coverage for Plaintiffs’ claims in toto.

       90.    Defendant did not provide an explanation of the basis in the insurance policy

in relation to the facts or applicable law for denial of the Claims.

       91.    Defendant’s actions are designed to avoid coverage that is provided under

the Policy for Plaintiffs’ Claims.

       92.    Defendant’s actions are injuring and interfering with Plaintiffs’ rights to

receive the benefits of the Policy, namely coverage for their Claims.

       93.    Defendant’s breaches of the implied covenant of good faith and fair dealing

have caused and will continue to cause damage to Plaintiffs.

       94.    Plaintiffs have incurred and will continue to incur cognizable damages as a

result of Defendant’s breaches of the implied covenant of good faith and fair dealing and

are entitled to recovery of their damages.




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                                  PRAYER FOR RELIEF

       WHEREFORE, Plaintiffs request that the Court award the following relief:

       1.      Judgment declaring that, pursuant to the Policy, Defendant Illinois Union, as

a matter of law, must provide coverage for Plaintiffs’ claims as set forth herein;

       2.      An award of compensatory, incidental, and/or consequential damages for

Plaintiffs against Defendant, in an amount to be determined at trial;

       3.      An award of pre- and post-judgment interest;

       4.      A jury trial on all issues so triable; and

       5.      Such other and further relief as the Court deems just and proper.



       This the 28th day of August, 2020.


                                                    MCDOUGAL WORRELL LLP


                                             By:    /s/ Gregg E. McDougal
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                             CERTIFICATE OF SERVICE

         I hereby certify that the foregoing Amended Complaint was filed this the 28th day
of August, 2020 with the Clerk of Court using the CM/ECF system. Parties may access
this filing through the Court’s Electronic Filing System. Notice of this filing will be sent
to the following counsel of record by operation of the Court’s Electronic Filing System:

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       This the 28th day of August, 2020.




                                                 McDOUGAL WORRELL LLP

                                          By:     /s/ Gregg E. McDougal
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